             Case 2:09-cr-00138-JAM Document 151 Filed 03/22/13 Page 1 of 2


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4
     Attorney for Defendant
5    MUMRAIZ KHAN
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8
                           IN THE UNITED STATES DISTRICT COURT
9
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,                 )   No. 09-CR-138-JAM
                                               )
13                       Plaintiff,            )
                                               )   STIPULATION AND ORDER
14         v.                                  )
                                               )
15   MUMRAIZ KHAN, and AHMAD                   )   Date: June 25, 2013
     KHAN,                                     )   Time: 9:45 a.m.
16                                             )   Hon. John A. Mendez
                    Defendants.                )
17   _______________________________
18
19         Defendants Mumraiz Khan and Ahmad Khan and plaintiff United States, through
20   their respective attorneys, hereby stipulate and request that the Court set a status
21   conference re resentencing in the above-captioned case on June 25, 2013, at 9:45 a.m.
22         After the sentences of defendants Mumraiz Khan and Ahmad Khan were vacated
23   and remanded for resentencing on appeal, this case has been reassigned from Chief U.S.
24   District Judge Morrison C. England to U.S. District Judge John A. Mendez. The parties
25   request that the case be set for a status conference re: resentencing on June 25, 2013.
26   Defense counsel are both currently scheduled to begin an estimated 8-week trial before
27   Judge Mueller on May 6, 2013. Counsel for Mumraiz Khan will also be out of the country
28   from March 24-31, 2013. Defense counsel are working with government counsel toward
            Case 2:09-cr-00138-JAM Document 151 Filed 03/22/13 Page 2 of 2


1    presenting the Court with a proposed resolution regarding resentencing.
2          The Speedy Trial Act does not apply to re-sentencings.
3                                                Respectfully submitted,
4          Dated: March 21, 2013
5                                                /s/ John Balazs
                                                 JOHN BALAZS
6
                                                 Attorney for Defendant
7                                                MUMRAIZ KHAN
8          Dated: March 21, 2013
9                                                /s/ James Greiner
                                                 JAMES GREINER
10
                                                 Attorney for Defendant
11                                               AHMAD KHAN
12
13                                               BENJAMIN B. WAGNER
                                                 U.S. Attorney
14
           Dated: March 21, 2013
15
                                          By:    /s/ R. Steven Lapham
16                                               R. STEVEN LAPHAM
                                                 Assistant U.S. Attorney
17
18
19
20                                           ORDER
21         IT IS SO ORDERED.
22         Dated: March 22, 2013
23                                               /s/ John A. Mendez
                                                 HON. JOHN A. MENDEZ
24                                               U.S. District Court Judge
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